       Case 25-11778-amc           Doc 58     Filed 06/05/25 Entered 06/05/25 09:21:20                   Desc Main
                                              Document     Page 1 of 1



                                                                                 Michael Assad <michael@sadeklaw.com>



Objection to withdrawal as counsel
J McCloud Realty <jmccloudrealty@gmail.com>                                                      Wed, Jun 4, 2025 at 4:42 PM
To: Michael Assad <michael@sadeklaw.com>, brad@sadeklaw.com

 Hi Mike and Brad

 I am writing to you because I do not authorize or consent to your motion to withdraw as my counsel, and I believe your
 withdrawal at this stage would severely harm my interests and compromise my ability to move forward in this case.

 You are deeply familiar with the facts, filings, and outstanding issues in my case, and your removal would create an
 immediate gap in legal representation — especially while key matters remain unresolved, including:
   • Trustee communications post-conversion,
   • Review of your final fee application,
   • Return or accounting of retainer funds,
   • Potential legal consequences regarding remaining creditors.
    And more importantly my appeals for relief of stay and the appeal to the conversion from ch11 to ch 7

 For these reasons, I am requesting that you immediately file an objection to your own motion to withdraw, clearly stating
 that:
   • The Debtor did not consent to the withdrawal,
   • The withdrawal would be prejudicial to the Debtor, and
   • You will continue to represent J McCloud Realty LLC unless or until the Court approves a substitute or otherwise
 orders withdrawal.

 Please email me back to confirm that you will comply with this request. The deadline to object the motion is dated
 tomorrow June 5, 2025.

 Sincerely
 Jamirah
